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                                                                            2023 Sep-06 PM 04:07
                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

EVAN MILLIGAN, et al.,               )
                                     )
      Plaintiffs,                    )
                                     )
v.                                   )     No. 2:21-cv-1530-AMM
                                     )
WES ALLEN, in his official           )     THREE-JUDGE COURT
capacity as Alabama Secretary of     )
State, et al.,                       )     NOTICE OF APPEAL
                                     )
      Defendants.                    )


              CORRECTED NOTICE OF APPEAL OF ORDER
                GRANTING PRELIMINARY INJUNCTION

      Notice is hereby given that Defendant Secretary of State Wes Allen hereby

appeals to the Supreme Court of the United States from this Court’s September 5,

2023 Injunction, Opinion, and Order. See Milligan Doc. 272. This appeal is taken

under 28 U.S.C. § 1253.

                                   Respectfully Submitted,

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                                   Attorney General
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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 6, 2023, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

to counsel of record.


                                              s/ Edmund G. LaCour Jr.
                                              Edmund G. LaCour Jr.
                                              Solicitor General
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